                  IN THE UNITED STATES DISTRICT COURT
             FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                          STATESVILLE DIVISION
                       Case No. 5:24-CV-00050-KDB-SCR


CHRISTY MARIE READY,

                Plaintiff,

vs.

NAVIENT SOLUTIONS, LLC, EXPERIAN
INFORMATION SOLUTIONS, LLC,                                 PROTECTIVE ORDER
EQUIFAX INFORMATION SERVICES,
LLC, and TRANSUNION, LLC,

                Defendants.


        IT IS HEREBY ORDERED that to facilitate the exchange of information and documents

which may be subject to confidentiality limitations on disclosure due to federal laws, state laws,

and privacy rights:

        1.      The words set forth below shall have the following meanings:

                a.     "Proceeding" means the above-entitled proceeding (5:24-cv-00050-KDB-

        SCR).

                b.     "Court" means the Hon. Kenneth D. Bell, or any other judge to which this

        Proceeding may be assigned, including Court staff participating in such proceedings.

                c.     "Confidential" means any information which is in the possession of a

        Designating Party who believes in good faith that such information is entitled to

        confidential treatment under applicable law.




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               d.     "Confidential Materials" means any Documents, Testimony or Information

       as defined below designated as "Confidential" pursuant to the provisions of this Stipulation

       and Protective Order.

               e.     "Designating Party" means the Party that designates Materials as

       "Confidential."

               f.     "Disclose" or "Disclosed" or "Disclosure" means to reveal, divulge, give, or

       make available Materials, or any part thereof, or any information contained therein.

               g.     "Documents" means (i) any "Writing," "Original," and "Duplicate" as those

       terms are defined by and used in the Federal Rules of Evidence, which have been produced

       in discovery in this Proceeding by any person, and (ii) any copies, reproductions, or

       summaries of all or any part of the foregoing.

               h.     "Information" means the content of Documents or Testimony.

               i.     "Testimony" means all depositions, declarations or other testimony taken or

       used in this Proceeding.

       2.      The Designating Party shall have the right to designate as "Confidential" any

Documents, Testimony or Information that the Designating Party in good faith believes to contain

non-public information that is entitled to confidential treatment under applicable law.

       3.      The entry of this Stipulation and Protective Order does not alter, waive, modify, or

abridge any right, privilege or protection otherwise available to any Party with respect to the

discovery of matters, including but not limited to any Party's right to assert the attorney-client

privilege, the attorney work product doctrine, or other privileges, or any Party's right to contest

any such assertion.




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       4.      Any Documents, Testimony or Information to be designated as "Confidential" must

be clearly so designated before the Document, Testimony or Information is Disclosed or produced.

The parties may agree that the case name and number are to be part of the "Confidential"

designation. The "Confidential" designation should not obscure or interfere with the legibility of

the designated Information.

               a.     For Documents (apart from transcripts of depositions or other pretrial or

       trial proceedings), the Designating Party must affix the legend "Confidential" on each page

       of any Document containing such designated Confidential Material.

               b.     For Testimony given in depositions the Designating Party may either:

                      i.      identify on the record, before the close of the deposition, all

               "Confidential" Testimony, by specifying all portions of the Testimony that qualify

               as "Confidential;" or

                      ii.     designate the entirety of the Testimony at the deposition as

               "Confidential" (before the deposition is concluded) with the right to identify more

               specific portions of the Testimony as to which protection is sought within 30 days

               following receipt of the deposition transcript. In circumstances where portions of

               the deposition Testimony are designated for protection, the transcript pages

               containing "Confidential" Information may be separately bound by the court

               reporter, who must affix to the top of each page the legend "Confidential," as

               instructed by the Designating Party.

               c.     For Information produced in some form other than Documents, and for any

       other tangible items, including, without limitation, compact discs or DVDs, the

       Designating Party must affix in a prominent place on the exterior of the container or




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       containers in which the Information or item is stored the legend "Confidential." If only

       portions of the Information or item warrant protection, the Designating Party, to the extent

       practicable, shall identify the "Confidential" portions.

       5.      The inadvertent production by any of the undersigned Parties or non-Parties to the

Proceedings of any Document, Testimony or Information during discovery in this Proceeding

without a "Confidential" designation, shall be without prejudice to any claim that such item is

"Confidential" and such Party shall not be held to have waived any rights by such inadvertent

production. In the event that any Document, Testimony or Information that is subject to a

"Confidential" designation is inadvertently produced without such designation, the Party that

inadvertently produced the document shall give written notice of such inadvertent production

within twenty (20) days of discovery of the inadvertent production, together with a further copy

of the subject Document, Testimony or Information designated as "Confidential" (the "Inadvertent

Production Notice"). Upon receipt of such Inadvertent Production Notice, the Party that received

the inadvertently produced Document, Testimony or Information shall promptly destroy the

inadvertently produced Document, Testimony or Information and all copies thereof, or, at the

expense of the producing Party, return such together with all copies of such Document, Testimony

or Information to counsel for the producing Party and shall retain only the "Confidential"

designated Materials. Should the receiving Party choose to destroy such inadvertently produced

Document, Testimony or Information, the receiving Party shall notify the producing Party in

writing of such destruction within ten (10) days of receipt of written notice of the inadvertent

production. This provision is not intended to apply to any inadvertent production of any

Information protected by attorney-client or work product privileges. In the event that this provision




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conflicts with any applicable law regarding waiver of confidentiality through the inadvertent

production of Documents, Testimony or Information, such law shall govern.

       6.      In the event that counsel for a Party receiving Documents, Testimony or

Information in discovery designated as "Confidential" objects to such designation with respect to

any or all of such items, said counsel shall advise counsel for the Designating Party, in writing, of

such objections, the specific Documents, Testimony or Information to which each objection

pertains, and the specific reasons and support for such objections (the "Designation Objections").

Counsel for the Designating Party shall have thirty (30) days from receipt of the written

Designation Objections to either (a) agree in writing to de-designate Documents, Testimony or

Information pursuant to any or all of the Designation Objections and/or (b) file a motion with the

Court seeking to uphold any or all designations on Documents, Testimony or Information

addressed by the Designation Objections (the "Designation Motion"). Pending a resolution of the

Designation Motion by the Court, any and all existing designations on the Documents, Testimony

or Information at issue in such Motion shall remain in place. The Designating Party shall have the

burden on any Designation Motion of establishing the applicability of its "Confidential"

designation. In the event that the Designation Objections are neither timely agreed to nor timely

addressed in the Designation Motion, then such Documents, Testimony or Information shall be

de-designated in accordance with the Designation Objection applicable to such material.

       7.      Access to and/or Disclosure of Confidential Materials designated as "Confidential"

shall be permitted only to the following persons:

               a.      the Court, including Court personnel;

               b.      (1) Attorneys of record in the Proceedings and their affiliated attorneys,

       paralegals, clerical and secretarial staff employed by such attorneys who are actively




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  involved in the Proceedings and are not employees of any Party. (2) In-house counsel to

  the undersigned Parties and the paralegal, clerical and secretarial staff employed by such

  counsel. Provided, however, that each non-lawyer given access to Confidential Materials

  shall be advised that such Materials are being Disclosed pursuant to, and are subject to, the

  terms of this Stipulation and Protective Order and that they may not be Disclosed other

  than pursuant to its terms;

         c.      those officers, directors, partners, members, employees and agents of all

  non-designating Parties that counsel for such Parties deems necessary to aid counsel in the

  prosecution and defense of this Proceeding; provided, however, that prior to the Disclosure

  of Confidential Materials to any such officer, director, partner, member, employee or agent,

  counsel for the Party making the Disclosure shall deliver a copy of this Stipulation and

  Protective Order to such person, shall explain that such person is bound to follow the terms

  of such Order, and shall secure the signature of such person on a statement in the form

  attached hereto as Exhibit A;

         d.      court reporters in this Proceeding (whether at depositions, hearings, or any

  other proceeding);

         e.      any deposition, trial or hearing witness in the Proceeding who previously

  has had access to the Confidential Materials, or who is currently or was previously an

  officer, director, partner, member, employee or agent of an entity that has had access to the

  Confidential Materials;

         f.      any deposition or non-trial hearing witness in the Proceeding who

  previously did not have access to the Confidential Materials; provided, however, that each

  such witness given access to Confidential Materials shall be advised that such Materials




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       are being Disclosed pursuant to, and are subject to, the terms of this Stipulation and

       Protective Order and that they may not be Disclosed other than pursuant to its terms;

              g.      mock jury participants, provided, however, that prior to the Disclosure of

       Confidential Materials to any such mock jury participant, counsel for the Party making the

       Disclosure shall deliver a copy of this Stipulation and Protective Order to such person, shall

       explain that such person is bound to follow the terms of such Order, and shall secure the

       signature of such person on a statement in the form attached hereto as Exhibit A.

              h.      outside experts or expert consultants consulted by the undersigned Parties

       or their counsel in connection with the Proceeding, whether or not retained to testify at any

       oral hearing; provided, however, that prior to the Disclosure of Confidential Materials to

       any such expert or expert consultant, counsel for the Party making the Disclosure shall

       deliver a copy of this Stipulation and Protective Order to such person, shall explain its

       terms to such person, and shall secure the signature of such person on a statement in the

       form attached hereto as Exhibit A. It shall be the obligation of counsel, upon learning of

       any breach or threatened breach of this Stipulation and Protective Order by any such expert

       or expert consultant, to promptly notify counsel for the Designating Party of such breach

       or threatened breach; and

                      i.      any other person that the Designating Party agrees to in writing.

       8.     Confidential Materials shall be used by the persons receiving them only for the

purposes of preparing for, conducting, participating in the conduct of, and/or prosecuting and/or

defending the Proceeding, and not for any business or other purpose whatsoever.




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       9.      Any Party to the Proceeding (or other person subject to the terms of this Stipulation

and Protective Order) may ask the Court, after appropriate notice to the other Parties to the

Proceeding, to modify or grant relief from any provision of this Stipulation and Protective Order.

       10.     Entering into, agreeing to, and/or complying with the terms of this Stipulation and

Protective Order shall not:

               a.      operate as an admission by any person that any particular Document,

       Testimony or Information marked "Confidential" contains or reflects trade secrets,

       proprietary, confidential or competitively sensitive business, commercial, financial or

       personal information; or

               b.      prejudice in any way the right of any Party (or any other person subject to

       the terms of this Stipulation and Protective Order):

                       i.      to seek a determination by the Court of whether any particular

               Confidential Material should be subject to protection as "Confidential" under the

               terms of this Stipulation and Protective Order; or

                       ii.     to seek relief from the Court on appropriate notice to all other Parties

               to the Proceeding from any provision(s) of this Stipulation and Protective Order,

               either generally or as to any particular Document, Material or Information.

       11.     Any Party to the Proceeding who has not executed this Stipulation and Protective

Order as of the time it is presented to the Court for signature may thereafter become a Party to this

Stipulation and Protective Order by its counsel's signing and dating a copy thereof and filing the

same with the Court, and serving copies of such signed and dated copy upon the other Parties to

this Stipulation and Protective Order.




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         12.    Any Information that may be produced by a non-Party witness in discovery in the

Proceeding pursuant to subpoena or otherwise may be designated by such non-Party as

"Confidential" under the terms of this Stipulation and Protective Order, and any such designation

by a non-Party shall have the same force and effect, and create the same duties and obligations, as

if made by one of the undersigned Parties hereto. Any such designation shall also function as a

consent by such producing Party to the authority of the Court in the Proceeding to resolve and

conclusively determine any motion or other application made by any person or Party with respect

to such designation, or any other matter otherwise arising under this Stipulation and Protective

Order.

         13.    If any person subject to this Stipulation and Protective Order who has custody of

any Confidential Materials receives a subpoena or other process ("Subpoena") from any

government or other person or entity demanding production of Confidential Materials, the

recipient of the Subpoena shall promptly give notice of the same by electronic mail transmission,

followed by either express mail or overnight delivery to counsel of record for the Designating

Party, and shall furnish such counsel with a copy of the Subpoena. Upon receipt of this notice, the

Designating Party may, in its sole discretion and at its own cost, move to quash or limit the

Subpoena, otherwise oppose production of the Confidential Materials, and/or seek to obtain

confidential treatment of such Confidential Materials from the subpoenaing person or entity to the

fullest extent available under law. The recipient of the Subpoena may not produce any Documents,

Testimony or Information pursuant to the Subpoena prior to the date specified for production on

the Subpoena.




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       14.     Nothing in this Stipulation and Protective Order shall be construed to preclude

either Party from asserting in good faith that certain Confidential Materials require additional

protection. The Parties shall meet and confer to agree upon the terms of such additional protection.

       15.     If, after execution of this Stipulation and Protective Order, any Confidential

Materials submitted by a Designating Party under the terms of this Stipulation and Protective Order

is Disclosed by a non-Designating Party to any person other than in the manner authorized by this

Stipulation and Protective Order, the non-Designating Party responsible for the Disclosure shall

bring all pertinent facts relating to the Disclosure of such Confidential Materials to the immediate

attention of the Designating Party.

       16.     This Stipulation and Protective Order is entered into without prejudice to the right

of any Party to knowingly waive the applicability of this Stipulation and Protective Order to any

Confidential Materials designated by that Party. If the Designating Party uses Confidential

Materials in a non-Confidential manner, then the Designating Party shall advise that the

designation no longer applies.

       17.     Where any Confidential Materials, or Information derived from Confidential

Materials, is included in any motion, filing or other proceeding, governed by Fed. R. Civ. P. 5.2,

Local Civil Rule 6.1, or other applicable rule, the party shall follow those rules to ensure any

Confidential Materials remain protected.

       18.     The Parties shall meet and confer regarding the procedures for use of Confidential

Materials at trial and shall move the Court for entry of an appropriate order.

       19.     Nothing in this Stipulation and Protective Order shall affect the admissibility into

evidence of Confidential Materials or abridge the rights of any person to seek judicial review or to




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pursue other appropriate judicial action with respect to any ruling made by the Court concerning

the issue of the status of Protected Material.

       20.     This Stipulation and Protective Order shall continue to be binding after the

conclusion of this Proceeding and all subsequent proceedings arising from this Proceeding, except

that a Party may seek the written permission of the Designating Party or may move the Court for

relief from the provisions of this Stipulation and Protective Order. To the extent permitted by law,

the Court shall retain jurisdiction to enforce, modify, or reconsider this Stipulation and Protective

Order, even after the Proceeding is terminated.

       21.     Upon written request made within thirty (30) days after the settlement or other

termination of the Proceeding, the undersigned Parties shall have thirty (30) days to either (a)

promptly return to counsel for each Designating Party all Confidential Materials and all copies

thereof (except that counsel for each Party may maintain in its files, in continuing compliance with

the terms of this Stipulation and Protective Order, all work product, and one copy of each pleading

filed with the Court (b) agree with counsel for the Designating Party upon appropriate methods

and certification of destruction or other disposition of such Confidential Materials, or (c) as to any

Documents, Testimony or other Information not addressed by sub-paragraphs (a) and (b), file a

motion seeking a Court order regarding proper preservation of such Materials. To the extent

permitted by law the Court shall retain continuing jurisdiction to review and rule upon the motion

referred to in sub-paragraph (c) herein.

       22.     After this Stipulation and Protective Order has been signed by counsel for all

Parties, it shall be presented to the Court for entry. Counsel agree to be bound by the terms set

forth herein with regard to any Confidential Materials that have been produced before the Court

signs this Stipulation and Protective Order.




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       23.     The Parties and all signatories to the Certification attached hereto as Exhibit A

agree to be bound by this Stipulation and Protective Order pending its approval and entry by the

Court. In the event that the Court modifies this Stipulation and Protective Order, or in the event

that the Court enters a different Protective Order, the Parties agree to be bound by this Stipulation

and Protective Order until such time as the Court may enter such a different Order. It is the Parties'

intent to be bound by the terms of this Stipulation and Protective Order pending its entry so as to

allow for immediate production of Confidential Materials under the terms herein.

       24.     Pursuant to the Court's Pretrial Order and Case Management Plan ECF No. 30, the

Court shall retain ultimate disposition of protected materials subject to a final order of the Court

on the completion of litigation. Further, any motion, memorandum, document or other paper filed

with the Court is presumptively a public document and any decision of the Court regarding whether

to allow any filing to be made under seal is subject to Local Rule 6.1 and applicable law.


                                           Signed: October 29, 2024
       SO ORDERED.




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